     Case
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                                                                      06/19/2015



        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT
                                                   June 19, 2015
                                                   ECO-031-E

                                       No. 15-2425



                          Rodriguez Sutuc v. Attorney General
                                   (A206-448-275)



Present: MCKEE, Chief Judge


       1)     Motion by Petitioners to Stay Removal

        2)     Response by Respondent in Opposition to Motion to Stay Removal
________________________________________________________________________
       The Court would have granted Petitioners a stay of removal, but was informed that
Petitioners were removed earlier today. The government is hereby ordered to use its best
efforts to intercept Petitioners when they land tonight in Guatemala City and to return
Petitioners to the United States immediately. If the government is unable to intercept
Petitioners at the airport, they must locate Petitioners in Guatemala and return them to the
United States as quickly as possible. Upon their return, Petitioners are granted a stay of
removal pending disposition of their petition for review. If, upon contact, Petitioners
inform the government that they do not want to return to the United States, the
government shall secure a written memorialization to that effect - even if that writing is
in Spanish.


                                                               By the Court,

                                                               s/ Theodore A. McKee
                                                               Chief Judge

Dated: June 19, 2015      A True Copy :
JK/cc: Bridget Cambria, Esq.
       Bernard A. Joseph, Esq.                                                                 A True Copy :



                                                                                                      Marcia M . Waldron, Clerk




                                   Marcia M . Waldron, Clerk




                                                                                EXHIBIT E
